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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 16-14863
         Tanveer A Khan

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Glenn Stearns, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 04/30/2016.

         2) The plan was confirmed on 02/10/2017.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 04/23/2021.

         6) Number of months from filing to last payment: 60.

         7) Number of months case was pending: 62.

         8) Total value of assets abandoned by court order: $0.00.

         9) Total value of assets exempted: $17,242.52.

         10) Amount of unsecured claims discharged without payment: $55,809.82.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

        Total paid by or on behalf of the debtor          $129,210.00
        Less amount refunded to debtor                          $0.00

 NET RECEIPTS:                                                                               $129,210.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                  $0.00
     Court Costs                                                            $0.00
     Trustee Expenses & Compensation                                    $7,103.19
     Other                                                                  $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                               $7,103.19

 Attorney fees paid and disclosed by debtor:                  $0.00


 Scheduled Creditors:
 Creditor                                    Claim         Claim            Claim        Principal       Int.
 Name                              Class   Scheduled      Asserted         Allowed         Paid         Paid
 ALLY FINANCIAL                Secured             0.00          0.00             0.00           0.00        0.00
 ANDIGO CREDIT UNION           Unsecured           0.00           NA               NA            0.00        0.00
 CAPITAL ONE AUTO FINANCE      Unsecured     26,398.00           0.00             0.00           0.00        0.00
 CAPITAL ONE AUTO FINANCE      Unsecured            NA       5,177.08         5,177.08        842.56         0.00
 CAPITAL ONE AUTO FINANCE      Secured       32,177.08     27,000.00        27,000.00      27,000.00    1,807.81
 CAPITAL ONE BANK USA          Unsecured      6,180.00       6,302.72         6,302.72      1,025.76         0.00
 CAPITAL ONE BANK USA          Unsecured      2,631.00       2,631.76         2,631.76        428.32         0.00
 CAPITAL ONE BANK USA          Unsecured      2,231.00       2,231.10         2,231.10        363.11         0.00
 CARMAX AUTO FINANCE           Secured       12,271.42     12,271.42        12,271.42      12,271.42    1,081.91
 CENLAR FSB                    Secured       54,163.03     54,163.03        54,163.03      54,163.03         0.00
 CENLAR FSB                    Secured             0.00          0.00             0.00           0.00        0.00
 CREDIT FIRST NA               Unsecured      2,126.00       2,126.94         2,126.94        346.16         0.00
 ILLINOIS DEPT OF REVENUE      Priority            0.00           NA               NA            0.00        0.00
 INTERNAL REVENUE SERVICE      Priority       4,398.00            NA               NA            0.00        0.00
 JEFFERSON CAPITAL SYSTEMS     Unsecured     15,172.00     15,369.14        15,369.14       2,501.31         0.00
 KANE COUNTY TREASURER         Secured       19,791.64       4,947.91         4,947.91      4,947.91         0.00
 LVNV FUNDING                  Unsecured     15,714.00     17,004.76        17,004.76       2,767.51         0.00
 MERRICK BANK                  Unsecured      1,761.00       1,479.47         1,479.47        240.78         0.00
 MIDLAND CREDIT MGMT AGENT FOR Unsecured      1,184.00       1,184.95         1,184.95        192.85         0.00
 MIDLAND CREDIT MGMT AGENT FOR Unsecured      2,302.00       2,302.47         2,302.47        374.72         0.00
 MIDLAND CREDIT MGMT AGENT FOR Unsecured         964.00        982.41           982.41        159.89         0.00
 PORTFOLIO RECOVERY ASSOC      Unsecured      4,904.00       4,941.08         4,941.08        804.16         0.00
 CADENCE HEALTH                Unsecured      2,323.07            NA               NA            0.00        0.00
 FIRESTONE                     Unsecured      1,800.00            NA               NA            0.00        0.00
 UNITED STUDENT AID FUNDS      Unsecured     65,960.00     66,283.69        66,283.69      10,787.60         0.00
 US DEPARTMENT OF EDUCATION    Unsecured           0.00          0.00             0.00           0.00        0.00



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 Scheduled Creditors:
 Creditor                                   Claim         Claim         Claim        Principal       Int.
 Name                             Class   Scheduled      Asserted      Allowed         Paid          Paid
 WILLOUGHBY FARMS MASTER ASSO Secured             0.00          0.00          0.00           0.00        0.00


 Summary of Disbursements to Creditors:
                                                           Claim           Principal                Interest
                                                         Allowed               Paid                    Paid
 Secured Payments:
       Mortgage Ongoing                                   $0.00              $0.00                  $0.00
       Mortgage Arrearage                            $54,163.03         $54,163.03                  $0.00
       Debt Secured by Vehicle                       $39,271.42         $39,271.42              $2,889.72
       All Other Secured                              $4,947.91          $4,947.91                  $0.00
 TOTAL SECURED:                                      $98,382.36         $98,382.36              $2,889.72

 Priority Unsecured Payments:
        Domestic Support Arrearage                         $0.00                $0.00                $0.00
        Domestic Support Ongoing                           $0.00                $0.00                $0.00
        All Other Priority                                 $0.00                $0.00                $0.00
 TOTAL PRIORITY:                                           $0.00                $0.00                $0.00

 GENERAL UNSECURED PAYMENTS:                        $128,017.57         $20,834.73                   $0.00


 Disbursements:

        Expenses of Administration                         $7,103.19
        Disbursements to Creditors                       $122,106.81

 TOTAL DISBURSEMENTS :                                                                   $129,210.00




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        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 06/29/2021                             By:/s/ Glenn Stearns
                                                                          Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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